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P|aintiff

VS.
CFl. NO. 05-20252-D

CEC|L|A HARR|S, EFlF{|SS N|CCLA|N,
ZADR|CK BEAFlD, DANNY ADA|V|S

Defendant.

 

OFlDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

The co-defendant in this cause, Danny Adams, was previously reset for a report
date on September 22, 2005 pursuant to counse|’s request for a continuance of the August
1, 2005 trial date in order to allow for additional preparation in the case.

The Court hereby resets the trial date for the remaining defendants to October 3,
2005 with a report date of Thursdayl September 22l 2005l at 9:00 a.m., in Courtroom
3, 9th F|oor of the Federa| Bui|ding, Memphis, TN.

The period from August 25, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT ls so onDEREo this § day of August, 2005.

    

B RNlCE B. D NALD
U |TED STATES D|STFl|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

